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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


IN RE INTUNIV ANTITRUST LITIGATION Civil Action No. 16-cv-12653-ADB

This Document Relates to:
Direct Purchaser Actions


  DIRECT PURCHASER PLAINTIFF’S MOTION FOR PRELIMINARY APPROVAL
         OF PROPOSED SETTLEMENT WITH DEFENDANT ACTAVIS,
     APPROVAL OF THE FORM AND MANNER OF NOTICE TO THE CLASS,
          AND PROPOSED SCHEDULE FOR A FAIRNESS HEARING

       Pursuant to Fed. R. Civ. P. 23(e), direct purchaser plaintiff Meijer, Inc. and Meijer

Distribution, Inc. (“Meijer” or “Plaintiff”), individually and on behalf of the certified Direct

Purchaser Class (“Direct Purchaser Class”), hereby respectfully requests that the Court

preliminarily approve the proposed settlement with defendant Actavis Elizabeth LLC, Actavis

LLC, and Actavis Holdco US, Inc. (“Actavis”), including that the Court:

       1. Appoint Meijer as class representative solely for purposes of the settlement;

       2. Enter a preliminary approval order substantially in the form annexed to the Settlement
          Agreement as Exhibit A;

       3. Approve the plan of notice to the class, including procedures for objecting to the
          settlement, in the form annexed to the Settlement Agreement as Exhibit B;

       4. Appoint A.B. Data, Ltd. (“A.B. Data”), previously appointed by the Court as Notice
          Administrator for service of the notice of class certification, to assist Class Counsel in
          disseminating the Notice and serve as Claim Administrator;

       5. Appoint The Huntington National Bank as agreed by Plaintiff and Actavis as escrow
          agent for the settlement fund pursuant to the Escrow Agreement annexed to the
          Settlement Agreement as Exhibit D; and

       6. Adopt the proposed settlement schedule set forth in the proposed preliminary
          approval order, including scheduling a fairness hearing.

       In support of this motion, Plaintiff hereby provides more complete description of the

benefits of the settlement and negotiations, including the specific terms of the Settlement
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Agreement, in the Plaintiff’s Memorandum of Law and the Declaration of Co-Lead Counsel

Lauren G. Barnes, attaching the Settlement Agreement and exhibits thereto, submitted herewith.

       The Settlement Agreement is between the Direct Purchaser Class and Actavis only.

Defendants Shire plc, Shire LLC, and Shire U.S., Inc. (“Shire”) are not part of the Settlement

Agreement and have not settled. Plaintiff’s and the Direct Purchaser Class’s case against Shire

proceeds.

       WHEREFORE, for the reasons set forth herein and in Plaintiff’s submissions, the motion

to preliminarily approve the settlement should be granted. A proposed form of order is submitted

herewith as Exhibit A to the Settlement Agreement attached to the Barnes Declaration.


Dated: September 1, 2020                            Respectfully submitted,

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                                                     Additional Counsel for the Direct Purchaser
                                                     Class



                                 CERTIFICATE OF SERVICE

       I, Lauren G. Barnes, certify that this document filed through the CM/ECF system will be

sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) on September 1, 2020.

                                                     /s/ Lauren G. Barnes




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